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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS                       Case No. 3:19md2885
EARPLUG PRODUCTS
LIABILITY LITIGATION
                                            Judge M. Casey Rodgers
This Document Relates to All Cases          Magistrate Judge Gary R. Jones


                         PRETRIAL ORDER NO. 27
                     Suspension of Initial Census Deadlines

      The parties and the Court are currently working with the Department of

Veterans Affairs (“VA”) and the Department of Justice to establish an effective and

efficient process for obtaining the large volumes of servicemember VA records

needed for this litigation. In the meantime, and as provided in Case Management

Order No. 6, see ECF No. 836 at 1, all initial census deadlines are SUSPENDED,

until further order. This includes initial census deadlines for cases on the 3M MDL

docket, as well as cases on the 3M Administrative Docket.

      SO ORDERED, on this 13th day of February, 2020.


                               M. Casey Rodgers
                               M. CASEY RODGERS
                               UNITED STATES DISTRICT JUDGE
